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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

PHYLLIS CARSON; LORNE                        )
COSMAN; WILLIAM DRAPER;                      )
PHILLIP ERICKSON; SCOTT EVANS;               )
TERENCE GRANER; DONALD                       ) C.A. No. 22-208-CFC
HARMAN; SARAH HOUSEHOLDER;                   )
TRUDY L. GRANER; TRUDY                       )
LETSON; SABINE MILLER; DIANA                 )
HOBERT-POWELL; JANET PURVIS;                 )
PATRICIA ROBERTS; CAROLE                     )
SCHAUER; CARA WASHINGTON;                    )
STEPHEN KAPLITT; DEBORAH                     )
THELEN individually and on behalf of         )
all others similarly situated,               )
                                             )
              Plaintiffs,                    )
                                             )
       v.
                                             )
HP INC.,                                     )
                                             )
              Defendant.                     )

             JOINT STIPULATION AND [PROPOSED] ORDER

      WHEREAS, on June 16, 2022, the parties filed a Joint Stipulation and

[Proposed] Order (D.I 12) (the “Stipulation”) which the Court So-Ordered on that

same date (the “June 16, 2022 Stipulated Order”);

      WHEREAS, the June 16, 2022 Stipulated Order provided, in part, that:

“Plaintiff shall file an amended complaint or file an answering brief in opposition to

the Motion within 28 days of HP’s filing of its opening brief” and “[i]f Plaintiffs

amend their complaint, the parties shall confer regarding an appropriate schedule for
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HP to respond to the amended complaint and shall file a stipulation for the Court’s

consideration.” June 16, 2022 Stipulated Order at 1(b), (d) (bold text removed);

        WHEREAS, pursuant to the June 16, 2022 Stipulated Order, Plaintiffs’

response to the Motion is currently due on July 21, 2022;

        WHEREAS, Plaintiffs’ counsel informed HP’s counsel that Plaintiffs intend

to file an amended complaint; Plaintiffs requested one additional week to file their

amended complaint; and HP has agreed to Plaintiffs’ extension request;

        IT IS HEREBY STIPULATED AND AGREED, by and between the parties,

subject to the approval of the Court, as follows:

        1.    Plaintiffs shall file their amended complaint on or before July 28,

2022.

        2.    After Plaintiffs file their amended complaint, the parties shall

promptly confer regarding a schedule for HP’s response to the amended complaint,

including an anticipated Motion to Dismiss and Strike and shall file a stipulation

for the Court’s consideration.




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/s/ P. Bradford deLeeuw                 /s/ Kelly E. Farnan
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Attorney for Plaintiffs
                                        Attorney for Defendant HP Inc.

Dated: July 20, 2022


SO ORDERED this __ day of _______ 2022.




                                          Chief United States District Judge




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